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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1682V
                                         UNPUBLISHED


    LINDSEY MILLER,                                           Chief Special Master Corcoran

                         Petitioner,                          Filed: April 20, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Kristina E. Grigorian, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.

Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

        On October 31, 2018, Lindsey Miller filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a vaccine-specific injury on the
Vaccine Injury Table within the requisite time period set forth in the Table (a “Table”
injury). Petition at 1. Specifically, Petitioner alleges that she developed a left Shoulder
Injury Related to Vaccine Administration (SIRVA) within two days of receiving an
influenza (“flu”) vaccine in her left shoulder on January 15, 2018. Id. The case was
assigned to the Special Processing Unit of the Office of Special Masters.



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On April 20, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, Respondent states that “petitioner had no apparent history of pain,
inflammation or dysfunction of the affected shoulder prior to intramuscular vaccine
administration that would explain the alleged signs, symptoms, examination findings,
and/or diagnostic studies occurring after vaccine injection; she more likely than not
suffered the onset of pain within forty-eight hours of vaccine administration; her pain
and reduced range of motion were limited to the shoulder in which the intramuscular
vaccine was administered; and there is no other condition or abnormality present that
would explain petitioner’s symptoms.” Id. at 3. Respondent further agrees that the case
was timely filed, the vaccine was received in the United States, and Petitioner has
suffered the residual effects or complications of her injury for more than six months after
vaccine administration. Id. at 4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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